                                                              United States Bankruptcy Court
                                                              Western District of Washington
In re:                                                                                                                 Case No. 20-11870-TWD
Nicholas Clifton Barnard                                                                                               Chapter 7
       Debtor(s)
                                                     CERTIFICATE OF NOTICE
District/off: 0981-2                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Nov 10, 2020                                               Form ID: ntcclm                                                           Total Noticed: 58
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Nov 12, 2020:
Recip ID                   Recipient Name and Address
db                     +   Nicholas Clifton Barnard, 6806 Oswego PL NE, #101, Seattle, WA 98115-6400
956858453              +   1&1 Internet Inc., 701 Lee Rd. Suite 300, Chesterbrook, PA 19087-5612
956858454              +   AAC/FSC Clocktower Investors, 13725 32nd Ave. NE, Seattle, WA 98125-3690
956858459              +   AT&T, PO Box 5074, Carol Stream, IL 60197-5074
956858457              +   Amexdsnb, 9111 Duke Blvd, Mason, OH 45040-8999
956858460              +   Benjamin Schwartz, 210B 26th Ave. E, Seattle, WA 98112-5411
956858462                  Boeing Employees C U, P O Box 97050-Dir Of Ln, Seattle, WA 98124
956858464              +   Cap One Na, 1 S Orange St, Wilmington, DE 19801-5006
956858469              +   Code Fellows, LLC, 2901 3rd Ave., Ste. 300, Seattle, WA 98121-1042
956858476              +   First Internet Bank Of, 11201 USA Pkwy, Fishers IN 46037-9202
956858480              +   Kay Hessemer, 1302 N 152nd St #14, Shoreline, WA 98133-6248
956858481              +   Key Bank N.A., PO box 94968, Cleveland, OH 44101-4968
956858483                  Lab. Co. of America Holdings, PO Box 2240, Burlington, NC 27216-2240
956858485              +   Mark T. Case, PO Box 30131, Spokane, WA 99223-3002
956858486              +   Michele Eckman, 8628 SW 108 PL RD, Ocala, FL 34481-5383
956858487              +   Mobiloans, LLC, PO Box 1409, Marksville, LA 71351-1409
956858488              +   Pacific Medical Centers, PO Box 24386, Seattle, WA 98124-0386
956858492              +   Randi Dolan, 3112 Celt Aly, Nolensville, TN 37135-1215
956858493                  Red Rock Tribal Lending, dba CastlePayday.com, PO Box 704, Watersmeet, MI 49969-0704
956858495                  Swedish Medical Center, Mailstop: 37268915, P.O. Box 660354, Dallas, TX 75266-0354
956858496              +   Swedish Medical Group, PO Box 84026, Seattle, WA 98124-8426
956858504              +   US Dept. of Ed/glelsi, P.O. Box 7860, Madison, WI 53707-7860
956858503              +   US Dept. of Ed/glelsi, P.O. Box 5609, Greenville, TX 75403-5609

TOTAL: 23

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
tr                     + EDI: QRGBROWN.COM
                                                                                        Nov 11 2020 05:23:00      Ronald G. Brown, 999 3rd Ave Ste 2525, Seattle,
                                                                                                                  WA 98104-4032
smg                        EDI: WADEPREV.COM
                                                                                        Nov 11 2020 05:23:00      State of Washington, Department of Revenue,
                                                                                                                  2101 4th Ave, Ste 1400, Seattle, WA 98121-2300
cr                     + Email/Text: bknotice@mccarthyholthus.com
                                                                                        Nov 11 2020 02:38:00      Santander Consumer USA Inc., c/o McCarthy &
                                                                                                                  Holthus, LLP, 108 1st Avenue South, Ste. 300,
                                                                                                                  Seattle, WA 98104-2104
956858458              + EDI: CINGMIDLAND.COM
                                                                                        Nov 11 2020 05:23:00      AT&T, PO Box 30459, Los Angeles, CA
                                                                                                                  90030-0459
956889524                  EDI: BECKLEE.COM
                                                                                        Nov 11 2020 05:23:00      American Express National Bank, c/o Becket and
                                                                                                                  Lee LLP, PO Box 3001, Malvern PA 19355-0701
956858456              + EDI: AMEREXPR.COM
                                                                                        Nov 11 2020 05:23:00      Amex, Po Box 297871, Fort Lauderdale, FL
                                                                                                                  33329-7871




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Date Rcvd: Nov 10, 2020                                     Form ID: ntcclm                                                Total Noticed: 58
956858461          EDI: BANKAMER.COM
                                                                        Nov 11 2020 05:23:00   Bk Of Amer, Po Box 982235, El Paso, TX 79998
956858463        + Email/Text: ecf@becu.org
                                                                        Nov 11 2020 02:38:00   Boeing Employees C U, Po Box 97050, Seattle,
                                                                                               WA 98124-9750
956858465          EDI: CAPITALONE.COM
                                                                        Nov 11 2020 05:23:00   Capital One Bank Usa N, 15000 Capital One Dr,
                                                                                               Richmond, VA 23238
956858466          Email/Text: bankruptcy@cashcentral.com
                                                                        Nov 11 2020 02:38:00   Cash Central of WA, LLC, 84 E 2400 N, North
                                                                                               Logan, UT 84341-2902
956858468        + EDI: CITICORP.COM
                                                                        Nov 11 2020 05:23:00   Citi, Po Box 6241, Sioux Falls, SD 57117-6241
956858470        + EDI: CRFRSTNA.COM
                                                                        Nov 11 2020 05:23:00   Credit First N.A., PO Box 81344, Cleveland, OH
                                                                                               44188-0001
956858471        + Email/Text: kthompson@crownasset.com
                                                                        Nov 11 2020 02:38:00   Crown Asset Mgt, LLC, 3100 Breckinridge Blvd.,
                                                                                               Ste 725, Duluth, GA 30096-7605
956882007          EDI: Q3G.COM
                                                                        Nov 11 2020 05:23:00   Department Stores National Bank, c/o Quantum3
                                                                                               Group LLC, PO Box 657, Kirkland, WA
                                                                                               98083-0657
956858472        + EDI: DISCOVER.COM
                                                                        Nov 11 2020 05:23:00   Discover Fin Svcs Llc, Po Box 15316,
                                                                                               Wilmington, DE 19850-5316
956858473        + EDI: WADEPESD.COM
                                                                        Nov 11 2020 05:23:00   Employment Security Department, P.O. Box 9046,
                                                                                               Olympia, WA 98507-9046
956858474        + Email/Text: l.clauson@everprof.com
                                                                        Nov 11 2020 02:38:00   Evergreen Prof. Recovery, 12100 NE 195th St.,
                                                                                               Ste. 125, Bothell, WA 98011-5777
956858475        + Email/Text: l.clauson@everprof.com
                                                                        Nov 11 2020 02:38:00   Evergreen Professional Recover, 12100 NE 195th
                                                                                               St Ste 125, Bothell WA 98011-5777
956858477        + Email/Text: BK@lendup.com
                                                                        Nov 11 2020 02:38:00   Flurish Inc. dba LendUp, 237 Kearny St. #372,
                                                                                               San Francisco, CA 94108-4502
956858479        + EDI: IRS.COM
                                                                        Nov 11 2020 05:23:00   Internal Revenue Service, Centralised Insolvency
                                                                                               Op., PO Box 7346, Philadelphia, PA 19101-7346
956858467          EDI: JPMORGANCHASE
                                                                        Nov 11 2020 05:23:00   Chase Card, Po Box 15298, Wilmington, DE
                                                                                               19850
956858482        + Email/Text: PBNCNotifications@peritusservices.com
                                                                        Nov 11 2020 02:38:00   Kohls/Chase, N56 W 17000 Ridgewood Dr,
                                                                                               Menomonee Falls, WI 53051-7096
956858484        + Email/Text: mpcbankruptcy@marathonpetroleum.com
                                                                        Nov 11 2020 02:38:00   Marathon Petroleum Co, 539 S Main St, Findlay,
                                                                                               OH 45840-3229
956858491          EDI: PRA.COM
                                                                        Nov 11 2020 05:23:00   Portfolio Recovery Assoc., P.O. Box 12914,
                                                                                               Norfolk, VA 23541
956858489        + Email/Text: bankruptcypgl@plaingreenloans.com
                                                                        Nov 11 2020 02:38:00   Plain Green, 93 Mack Road Suite Po Box 270,
                                                                                               Box Elder, MT 59521-0270
956858490        + Email/Text: bankruptcypgl@plaingreenloans.com
                                                                        Nov 11 2020 02:38:00   Plain Green, LLC, 93 Mack Road, Suite 600, PO
                                                                                               Box 270, Box Elder, MT 59521-0270
956880040          EDI: Q3G.COM
                                                                        Nov 11 2020 05:23:00   Quantum3 Group LLC as agent for, Crown Asset
                                                                                               Management LLC, PO Box 788, Kirkland, WA
                                                                                               98083-0788
956858494          EDI: DRIV.COM
                                                                        Nov 11 2020 05:23:00   Santander Consumer USA, Attn.: Bankruptcy
                                                                                               Dept., PO Box 560284, Dallas, TX 75356-0284
956858497        + EDI: RMSC.COM
                                                                        Nov 11 2020 05:23:00   Syncb/Amazon, Po Box 965015, Orlando, FL
                                                                                               32896-5015
956858498        + EDI: RMSC.COM
                                                                        Nov 11 2020 05:23:00   Synchrony Bank, PO Box 5138, Timonium, MD
                                                                                               21094-5138
956890970          EDI: AIS.COM
                                                                        Nov 11 2020 05:23:00   TD Bank, USA, by American InfoSource as agent,
                                                                                               PO Box 248866, Oklahoma City, OK 73124-8866




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Date Rcvd: Nov 10, 2020                                            Form ID: ntcclm                                                      Total Noticed: 58
956858499               + EDI: WTRRNBANK.COM
                                                                                   Nov 11 2020 05:23:00     Target Nb, Po Box 673, Minneapolis, MN
                                                                                                            55440-0673
956858500               + EDI: WTRRNBANK.COM
                                                                                   Nov 11 2020 05:23:00     Td Bank Usa/Targetcred, Po Box 673,
                                                                                                            Minneapolis, MN 55440-0673
956858501                 EDI: USBANKARS.COM
                                                                                   Nov 11 2020 05:23:00     Us Bank, 4325 17th Ave S, Fargo, ND 58125
956858502                 EDI: USBANKARS.COM
                                                                                   Nov 11 2020 05:23:00     Us Bank, Cb Disputes Po Box 108, Saint Louis,
                                                                                                            MO 63166

TOTAL: 35


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID          Bypass Reason   Name and Address
956889525         *               American Express National Bank, c/o Becket and Lee LLP, PO Box 3001, Malvern PA 19355-0701
956858478         *+              Internal Revenue Service, Field Insolvency Unit, 915 Second Ave M/S W244, Seattle, WA 98174-1030
956858455         ##+             American Credit Resolution, 270 Carpenter Dr Ste 575, Atlanta, GA 30328-4973

TOTAL: 0 Undeliverable, 2 Duplicate, 1 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Nov 12, 2020                                        Signature:           /s/Joseph Speetjens




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on November 9, 2020 at the address(es) listed
below:
Name                              Email Address
James K Miersma
                                  on behalf of Creditor Santander Consumer USA Inc. bknotice@mccarthyholthus.com

Michelle Carmody Kaplan
                                  on behalf of Debtor Nicholas Clifton Barnard michelle@kaplanlawpllc.com jbolen@kaplanlawpllc.com

Ronald G. Brown
                                  rgblaw@nwlink.com rgbrown@ecf.axosfs.com

United States Trustee
                                  USTPRegion18.SE.ECF@usdoj.gov


TOTAL: 4




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Form ntcclm (01/2017)

                                     UNITED STATES BANKRUPTCY COURT
                                          Western District of Washington
                                            700 Stewart St, Room 6301
                                                Seattle, WA 98101


In
Re:                                                         Case Number: 20−11870−TWD
       Nicholas Clifton Barnard                             Chapter: 7
       SSN: xxx−xx−6568

       SSN:

       Debtor(s).

                                       NOTICE TO FILE PROOF OF CLAIM
                                        DUE TO RECOVERY OF ASSETS
                                        AND PAYMENT OF ESTATE FEES


YOU ARE NOTIFIED that the Trustee in this case, Ronald G. Brown, has discovered assets. Creditors who wish to
share in any distribution of funds must file a proof of claim with the Clerk of the Bankruptcy Court at the address
above on or before February 12, 2021.


Creditors who do not file a proof of claim on or before this date may not be entitled to share in any distribution from
the Debtor's estate.

A Proof of Claim form may be filed electronically through the Court's website:
http://www.wawb.uscourts.gov/eclaims.htm. Filing claims electronically requires access to the internet, but no login
or password is required. Alternatively, claims can be submitted to the Court in paper through the U.S. Mail.
There is no fee for filing the proof of claim.

                           ANY CREDITOR WHO HAS FILED A PROOF OF CLAIM
                          ALREADY NEED NOT FILE ANOTHER PROOF OF CLAIM


If the Trustee recovers assets in this case, the estate will be required to pay banking fees not to exceed 2% of the
estate's bank account balance per year. In addition, the estate may be required to pay a bond premium not to exceed
0.1% of the estate's bank account balance. If you object to the payment of these amounts, you must file an objection
with the Court on or before the deadline set above for the filing of proofs of claim and set the matter for hearing.


Dated: November 10, 2020


                                                            Mark L. Hatcher
                                                            Clerk of the Bankruptcy Court




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